               IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


COMMON CAUSE, et al.,

                  Plaintiffs,
v.

ROBERT A. RUCHO, in his official
capacity as Chairman of the North
                                          No. 1:16-CV-1026
Carolina Senate Redistricting Committee
for the 2016 Extra Session and Co-
Chairman of the Joint Select Committee on
Congressional Redistricting, et al.,

                  Defendants.



LEAGUE OF WOMEN VOTERS OF
NORTH CAROLINA, et al.,

                  Plaintiffs,
v.

ROBERT A. RUCHO, in his official
capacity as Chairman of the North         No. 1:16-CV-1164
Carolina Senate Redistricting Committee
for the 2016 Extra Session and Co-
Chairman of the Joint Select Committee on
Congressional Redistricting, et al.,

                  Defendants.




     Case 1:16-cv-01026-WO-JEP Document 133 Filed 07/16/18 Page 1 of 5
                                           Order

       In a memorandum opinion entered January 9, 2018, this Court held that North

Carolina’s 2016 Congressional Redistricting Plan (the “2016 Plan”) constitutes a partisan

gerrymander in violation of the First Amendment, the Equal Protection Clause of the

Fourteenth Amendment, and Article I of the United States Constitution. Common Cause

v. Rucho, 279 F. Supp. 3d 587 (M.D.N.C. 2018), vacated sub nom. Rucho v. Common

Cause, No. 17-1295, 2018 WL 1335403 (June 25, 2018). On June 25, 2018, the Supreme

Court of the United States vacated this Court’s judgment and remanded the case for further

reconsideration in light of Gill v. Whitford, 138 S. Ct. 1916 (2018).

       In a filing entered June 27, 2018, this Court invited the parties to submit briefing

addressing the following four questions:

       1. What impact, if any, Gill has on this Court’s holdings that the 2016 Plan violates

          the First Amendment and Article I of the Constitution;

       2. Whether the existing factual record is adequate to address whether Plaintiffs

          have standing to state a vote dilution claim under the Equal Protection Clause;

       3. If a party believes additional factual development is required, what that factual

          development should entail; and

       4. Assuming arguendo that no additional factual development is required, whether,

          under Gill, Plaintiffs have standing to assert a vote dilution claim under the

          Equal Protection Clause.




                                            -2-




      Case 1:16-cv-01026-WO-JEP Document 133 Filed 07/16/18 Page 2 of 5
In so inviting, this Court advised the parties to include citations to the record in support of

their arguments.

       On July 11, 2018, the parties submitted briefing addressing each of the four

questions. With regard to the second and third questions, League Plaintiffs1 asserted that

additional factual development is necessary to support their claims and requested that this

Court reopen the record for the limited purpose of admitting declarations by Dr. Jowei

Chen, who testified on behalf of Plaintiffs at trial, and Walter Salinger, former Director of

the League of Women Voters of North Carolina, allegedly establishing League Plaintiffs’

Article III standing to assert their vote dilution claim under the Equal Protection Clause.

League of Women Voters Plaintiffs’ Brief at 7–13, No. 1:16-CV-1164 (July 11, 2018),

ECF No. 129. Common Cause Plaintiffs asserted that the existing factual record is

sufficient to establish Common Cause Plaintiffs’ standing. Brief of the Common Cause

Plaintiffs in Response to Order of June 27, 2018 at 20–21, No. 1:16-CV-1026 (July 11,

2018), ECF No. 130. Common Cause Plaintiffs further requested that in the event this

Court decides to reopen the record, that it admit a separate declaration by Dr. Chen further

establishing Common Cause Plaintiffs’ standing to assert their vote dilution claim under

the Equal Protection Clause. Id. at 21. Both groups of Plaintiffs represent that Dr. Chen’s

declarations include supplemental analyses based on data and evidence already disclosed



       1
        Unless otherwise defined herein, capitalized terms have the same meaning as in
this Court’s January 9, 2018 opinion.



                                             -3-




      Case 1:16-cv-01026-WO-JEP Document 133 Filed 07/16/18 Page 3 of 5
to Defendants and included in the record. Legislative Defendants asserted that it is

unnecessary for this Court to reopen the record, but requested the opportunity to depose

any witness offering new evidence or analyses as to Plaintiffs’ standing. Legislative

Defendants’ Response to Court Order at 7, No. 1:16-CV-1164 (July 11, 2018), ECF No.

131. State Defendants took no position on the issues raised in the Court’s request for

briefing.

       On July 13, 2018, the Supreme Court’s mandate issued. Accordingly, this Court

has jurisdiction over this case. This Court has not yet determined the impact, if any, Gill

has on this Court’s holdings that the 2016 Plan violates the First Amendment and Article I

of the Constitution. Nor has this Court determined whether, in light of Gill, the existing

factual record is adequate to address whether Plaintiffs still have standing to state a vote

dilution claim under the Equal Protection Clause. Nor has it determined whether it will

admit into evidence the declarations offered by Plaintiffs. However, upon consideration of

the parties’ briefs, this Court concludes that—regardless of its ultimate resolution of those

questions—it will not admit Plaintiffs’ declarations absent Legislative Defendants

receiving any previously undisclosed data or evidence underlying the declarations and any

analyses included therein and being provided with an opportunity to depose the declarants

regarding the statements and analyses included in their declarations.

       Accordingly, in light of Plaintiffs’ proffered declarations, it is hereby

       ORDERED that Plaintiffs shall (1) provide Defendants with any previously

undisclosed data or evidence underlying the declarations on or before July 19, 2018, and


                                            -4-




      Case 1:16-cv-01026-WO-JEP Document 133 Filed 07/16/18 Page 4 of 5
(2) make Dr. Chen and Mr. Salinger available for deposition by Legislative Defendants

regarding the statements and analyses included in their declarations at a mutually agreeable

time prior to or on July 31, 2018.

       FURTHER ORDERED that the parties submit briefing to this Court on or before

August 7, 2018, addressing whether—based on the existing record, the proffered

declarations by Dr. Chen and Mr. Salinger, and any additional deposition testimony by Dr.

Chen and Mr. Salinger—any, some, or all Plaintiffs have standing to assert a vote dilution

claim under the Equal Protection Clause.




                                                 Date: July 16, 2018


                                                 /s/ James A. Wynn, Jr.
                                                 Hon. James A. Wynn, Jr.
                                                 United States Circuit Judge

                                                 /s/ William L. Osteen, Jr.
                                                 Hon. William L. Osteen, Jr.
                                                 United States District Judge

                                                 /s/ W. Earl Britt
                                                 Hon. W. Earl Britt
                                                 Senior United States District Judge




                                           -5-




      Case 1:16-cv-01026-WO-JEP Document 133 Filed 07/16/18 Page 5 of 5
